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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

AMERICAN FEDERATION OF                      )
GOVERNMENT EMPLOYEES,                       )
LOCAL 12, AFL-CIO,                          )
200 Constitution Avenue NW, RM N-1503       )
Washington, D.C. 20210,                     )
                                            )
        Plaintiff,                          )
                                            )
v.                                          )         Civil Action No. ___________
                                            )
FEDERAL LABOR RELATIONS                     )
AUTHORITY,                                  )
1400 K Street NW, Washington, D.C. 20424, )
                                            )
        and                                 )
                                            )
COLLEEN DUFFY KIKO,                         )
In her official capacity as Chairman of the )
Federal Labor Relations Authority           )
1400 K Street NW, Washington, D.C. 20424, )
                                            )
        Defendants.                         )
_______________________________________)

            COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF

                                         INTRODUCTION

       The American Federation of Government Employees (“AFGE”), Local 12, AFL-CIO

(“Local 12” or “Union”) challenges two decisions by the Federal Labor Relations Authority

(“the Authority”) on the basis that the decisions are arbitrary, capricious, an abuse of discretion,

and not in accordance with law, and are consequently, in violation of the Administrative

Procedure Act, 5 U.S.C. § 701 et seq. (“APA”). Specifically, the Union challenges the

Authority’s decision in Department of Labor and AFGE Local 12, 70 F.L.R.A. 452 (2018)

(“Labor I”), and the Authority’s denial of reconsideration in Department of Labor and AFGE




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Local 12, 70 F.L.R.A. 953 (2018) (“Labor II”). Copies of the Authority’s decisions accompany

this complaint as exhibits 1 and 2 respectively.

       This complaint seeks review of the Authority’s refusal, in divided decisions, to allow

Local 12 to withdraw a unit clarification petition and seeks review of the Authority’s issuance of

an advisory opinion. This complaint does not seek review of the Authority’s determination on

the merits of Local 12’s petition. Rather, this complaint seeks review of a collateral issue: the

Authority’s issuance of the challenged decisions in violation of its own regulations and the APA.

In Labor I, Local 12 filed a unit clarification petition with the Authority pursuant to 5 C.F.R. §

2422.1(b)(1). The petition sought to clarify whether the Department of Labor (“DOL”)

wrongfully excluded twelve employees from Local 12’s bargaining unit. Before the Authority

issued a final decision, Local 12 requested, by letter dated January 3, 2018, to withdraw the

petition. Without acknowledging or responding to Local 12’s request to withdraw, the Authority

issued a decision on the merits three months later. In Labor II, the Authority denied Local 12’s

request for reconsideration of the decision in Labor I.

       In both challenged decisions, the Authority refused, over Member Ernest DuBester’s

dissent, to allow Local 12 to withdraw its petition because, inter alia, Local 12 purportedly failed

to state its motivation for the petition’s withdrawal. The Authority, however, never requested that

Local 12 state its motivation for the withdrawal in an order to show cause, by telephone, or in

any other fashion. Further, the Authority had, at all times relevant to this complaint, no

regulations or written policy governing the withdrawal of unit clarification petitions. In Labor I,

the Authority created a new requirement, without notice to Local 12, that a party must provide a

reason for withdrawing a unit clarification petition and then proceeded to issue a ruling on the

merits of the petition. Ex. 1 at 5. By issuing a decision on the merits in a moot case, the



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Authority violated its own regulation, 5 C.F.R. § 2429.10, which prohibits the Authority from

issuing an advisory opinion. Local 12 therefore seeks review of the Authority’s decisions on this

collateral issue, and vacatur of the Authority’s issuance of what amounts to advisory opinions in

violation of its own regulation.

I.     JURISDICTION

       1. The court has jurisdiction pursuant to 5 U.S.C. § 702 and 28 U.S.C. § 1331.

       2. Local 12 seeks a declaratory judgment pursuant to 28 U.S.C. § 2201.

II.    VENUE

       3. Pursuant to 28 U.S.C. § 1391(e)(1), the District of Columbia is a proper venue for this

           action because Local 12 is headquartered here and because Defendants’ principal

           offices are also headquartered here.

III.   PARTIES

       4. Local 12 is a labor organization and unincorporated association located at 200

           Constitution Avenue NW, RM N-1503, Washington, D.C. 20210. Local 12 represents

           all Department of Labor (“DOL”) employees, excluding all management officials,

           supervisors, and employees described in 5 U.S.C. §§ 7112(b)(2), (3), (4), (6), and (7),

           in the Washington metropolitan area.

       5. Local 12 is a local union affiliated with American Federation of Government

           Employees, AFL-CIO.

       6. Defendant Federal Labor Relations Authority is a federal agency whose headquarters

           is located at 1400 K Street NW, Washington, D.C. 20424.

       7. Defendant Colleen Duffy Kiko is the Chairman of the Authority. She is sued solely in

           her official capacity.



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IV.   FACTS

      8. The Authority is an “agency” as that term is defined in 5 U.S.C. § 551(1).

      9. The Authority is subject to 5 U.S.C. § 553 (“Section 553”).

      10. The APA defines “rule making” as “the agency process for formulating, amending, or

         repealing a rule.” 5 U.S.C. § 551(5).

      11. “Rule” is further defined by the APA as “the whole or a part of an agency statement

         of general or particular applicability and future effect designed to implement,

         interpret, or prescribe law or policy[.]” 5 U.S.C. § 551(4).

      12. Subject to exceptions not relevant here, Section 553(b) requires agencies to publish

         general notice of rule making in the Federal Register describing the time, place, and

         nature of public rule making proceedings, referencing the legal authority under which

         the rule is proposed, and describing the terms or substance of the proposed rule.

      13. Section 553(c) also requires agencies to give interested persons an opportunity to

         participate in the rule making via public comment.

      14. Subject to exceptions not relevant here, Section 553(d) requires the notice and

         comment period to last at least 30 days before the rule becomes effective.

      15. Local 12 is certified as the exclusive representative of all DOL employees, excluding

         all management officials, supervisors, and employees described in 5 U.S.C. §§

         7112(b)(2), (3), (4), (6), and (7), in the Washington metropolitan area.

      16. On April 27, 2016, Local 12 filed a unit clarification petition pursuant to 5 C.F.R. §

         2422.1(b)(1) with the Authority’s Washington Regional Office seeking to clarify

         whether DOL had wrongfully excluded twelve employees from Local 12’s bargaining

         unit.



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17. During the course of the Washington Regional Office’s investigation, Local 12 and

   DOL resolved the majority of the positions involved in the unit clarification petition.

18. Local 12 and DOL were unable to reach a resolution with respect to three positions.

19. DOL opposed Local 12’s unit clarification petition.

20. After holding a hearing, the Authority’s Washington Regional Office, through its

   Regional Director Jessica Bartlett, issued the Decision and Order on March 21, 2017.

21. The Decision and Order clarified the bargaining unit to include two of the three

   positions at issue.

22. On May 22, 2017, DOL filed an application for review of the Decision and Order

   with the Authority pursuant to 5 C.F.R. § 2422.31.

23. As a result of DOL’s application for review, the Decision and Order did not become

   final. 5 C.F.R. § 2422.31(e)(2).

24. On October 4, 2017, Local 12’s parent organization, the AFGE National Union,

   placed Local 12 in trusteeship and appointed a trustee to oversee the local’s affairs.

25. On or about December 12, 2017, the trustee designated AFGE National as Local 12’s

   representative in the unit clarification petition in this case.

26. On December 15, 2017, the Authority issued an order granting DOL’s application for

   review but deferring action on the merits for a later date.

27. On January 3, 2018, Local 12 filed a notice with the Authority informing the

   Authority that Local 12 was designating a new representative in the case.

28. Local 12 simultaneously filed, on January 3, 2018, a request to withdraw its April 27,

   2016 petition.

29. The Authority did not respond to Local 12’s January 3, 2018 request to withdraw.



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30. DOL did not object or otherwise respond to Local 12’s January 3, 2018 request to

   withdraw.

31. On January 11, 2018, Local 12 then filed a second notice, withdrawing its unit

   clarification petition.

32. DOL did not object or otherwise respond to Local 12’s January 11, 2018 notice of

   withdrawal.

33. Local 12’s January 11, 2018 notice clarified that no decision had been reached on the

   merits of the case and that Local 12 was withdrawing its underlying petition.

34. The January 11, 2018 notice also stated that there was no longer a case or controversy

   that would require a decision by the Authority.

35. Additionally, Local 12 cited to the Authority’s regulation, 5 C.F.R. § 2429.10,

   prohibiting the issuance of advisory opinions by the Authority.

36. At all times relevant to this complaint, there was no regulation governing the

   withdrawal of a union’s petition for clarification of employees’ bargaining unit status.

37. At all times relevant to this complaint, the Authority also had no written policy

   governing the withdrawal of a union’s petition for clarification.

38. On April 12, 2018, three months after Local 12’s request to withdraw the petition, the

   Authority, in a 2-1 vote over Member DuBester’s dissent, issued a decision on the

   merits of Local 12’s withdrawn unit clarification petition. Ex. 1, Labor I, 70 F.L.R.A.

   452 (2018).

39. In the decision, the Authority denied what it characterized as Local 12’s request to

   withdraw and proceeded to issue a decision on the merits.




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40. The decision did not cite any regulation, policy, or precedent that required a union to

   state its motivation for withdrawing a unit clarification petition.

41. At no time prior to its April 12, 2018 decision did the Authority notify Local 12 that it

   deemed Local 12’s withdrawal to be defective or otherwise deficient.

42. For example, the Authority did not issue an order to show cause or contact Local 12

   by telephone or in any other fashion informing Local 12, inter alia, of the

   requirement to state its motivation for withdrawing the unit clarification petition.

43. On April 27, 2018, Local 12 filed a timely motion for reconsideration of the April 12,

   2018 Opinion, arguing, inter alia, that the Authority’s decision was an improper

   advisory opinion in violation of 5 C.F.R. § 2429.10.

44. In the motion for reconsideration, Local 12 explained that by withdrawing its

   underling petition and because the Decision and Order never became final, the

   dispute became moot.

45. Additionally, Local 12 stated that it no longer sought to represent the disputed

   positions identified in the petition.

46. The Authority, in a 2-1 vote over Member DuBester’s dissent, denied Local 12’s

   motion for reconsideration on November 21, 2018. Ex. 2, Labor II, 70 F.L.R.A. 953

   (2018).




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                                        COUNT I

                    Violation of the Administrative Procedure Act
                                  5 U.S.C. § 706(2)(A)

47. Local 12 realleges and incorporates by reference the allegations contained in

   paragraphs 1 through 46.

48. Authority regulation 5 C.F.R. § 2429.10 prohibits the Authority from issuing advisory

   opinions.

49. By refusing to honor the Union’s withdrawal of its petition prior to the Authority’s

   issuance of a final decision on the merits, the Authority issued advisory opinions in

   violation of 5 C.F.R. § 2429.10.

50. The Authority’s decision in Labor I, 70 F.L.R.A. 452 (2018), and the Authority’s

   denial of reconsideration in Labor II, 70 F.L.R.A. 953 (2018), are therefore arbitrary,

   capricious, an abuse of discretion, and not in accordance with law in violation of 5

   U.S.C. § 706(2)(A).

                                        COUNT II

                    Violation of the Administrative Procedure Act
                                  5 U.S.C. § 706(2)(A)

51. Local 12 realleges and incorporates by reference the allegations contained in

   paragraphs 1 through 50.

52. The Authority has no regulation governing the withdrawal of a union’s petition for

   clarification of employees’ bargaining unit status.

53. The Union validly withdrew its petition prior to the Authority’s issuance of a final

   decision on the merits.




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54. By refusing to honor Local 12’s withdrawal of its petition, the Authority’s decision in

   Labor I, 70 F.L.R.A. 452 (2018), and the Authority’s denial of reconsideration in

   Labor II, 70 F.L.R.A. 953 (2018), are arbitrary, capricious, an abuse of discretion,

   and not in accordance with law in violation of 5 U.S.C. § 706(2)(A).

                                       COUNT III

                    Violation of the Administrative Procedure Act
                                     5 U.S.C. § 553

55. Local 12 realleges and incorporates by reference the allegations contained in

   paragraphs 1 through 54.

56. Authority regulation 5 C.F.R. § 2429.10 is a final rule promulgated via notice and

   comment rule making.

57. Authority regulation 5 C.F.R. § 2429.10 prohibits the Authority from issuing advisory

   opinions.

58. By refusing to honor the Union’s withdrawal of its petition prior to the Authority’s

   issuance of a final decision on the merits, the Authority issued advisory opinions in

   violation of 5 C.F.R. § 2429.10.

59. By refusing to honor the Union’s withdrawal of its petition, the Authority altered,

   amended, or repealed 5 C.F.R. § 2429.10 without engaging in notice and comment

   rule making.

60. The Authority’s decision in Labor I, 70 F.L.R.A. 452 (2018), and the Authority’s

   denial of reconsideration in Labor II, 70 F.L.R.A. 953 (2018), are therefore in

   violation of 5 U.S.C. § 553.




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                                 RELIEF REQUESTED

Local 12 respectfully requests that this Court enter an ORDER:

(1) Vacating the Authority’s decision in Labor I, 70 F.L.R.A. 452 (2018), and the

   Authority’s denial of reconsideration in Labor II, 70 F.L.R.A. 953 (2018);

(2) Declaring that the Authority’s decision in Labor I, 70 F.L.R.A. 452 (2018), and the

   Authority’s denial of reconsideration in Labor II, 70 F.L.R.A. 953 (2018) are void;

(3) Ordering the Authority to grant the Union’s withdrawal of its respective petition in

   Labor I, 70 F.L.R.A. 452 (2018), and the Authority’s denial of reconsideration in

   Labor II, 70 F.L.R.A. 953 (2018); and

(4) Granting such other relief as this Court finds necessary and proper.

                                             Respectfully submitted,

                                               /s/ Andres M. Grajales
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